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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


Civil Action No. 22-cv-00926-GPG

TIFFANY GRAYS,

      Plaintiff,

v.

RICO MUNN,
ELIZABETH FRANCIS,
MICHAEL W. SCHREINER,
CARI ROBERTS,
ZACHERY SAMPLES,
DAVID WALLER,
NICHOLAS KLOBERDANZ,
GREGORY CAZZELL,
UNKNOWN APS SECURITY OFFICER,
BRANDON EYRE,
UNKNOWN APS CO-CONSPIRATORS,
THE CITY OF AURORA,

      Defendants.


                   ORDER TO FILE SECOND AMENDED COMPLAINT


      Plaintiff Tiffany Grays, who resides in Aurora, Colorado, has filed pro se an

Amended Verified Complaint. (ECF No. 6.) Plaintiff has been granted leave to

proceed under 28 U.S.C. § 1915. (ECF No. 4.)

      The Court construes the Amended Verified Complaint liberally because Plaintiff

is not represented by an attorney. See Haines v. Kerner, 404 U.S. 519, 520- 21

(1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). However, the Court

should not act as an advocate for a pro se litigant. See Hall, 935 F.2d at 1110. For
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the reasons further explained below, the Court directs Plaintiff to submit a second

amended complaint in compliance with this Order.

I.    The Amended Verified Complaint

      Plaintiff’s complaint is not a model of clarity. Plaintiff states she is an African

American female and parent of two daughters who, until 2018 or 2020, were enrolled in

Aurora Public Schools. (ECF No. 6-2 at 5.) Plaintiff states her dark-skinned, African

American daughter attended Aurora Frontier P-8 School (“Aurora Frontier”). (Id. at 8, ¶

23.) Plaintiff alleges the “catalyst” for her claims occurred on May 2, 2018, the White

Aurora Frontier principal, Defendant Kirkley, suspended Plaintiff’s daughter “for what

was originally stated to be physical contact with another student, but was later changed

to detrimental behavior.” (Id. at 9, ¶ 24.) Plaintiff pursued and eventually won a

reversal of the decision through the Aurora Public Schools (“APS”) Board of Education

(“BOE”). (Id.) Plaintiff alleges continuing events involving the defendants and asserts

the following ten claims for relief, seeking money damages, as well as injunctive and

declaratory relief. (See, generally, ECF No. 6-2.)

      Count 1 is asserted pursuant to 42 U.S.C. § 1981. Plaintiff alleges she was

 removed from the APS BOE meeting on February 16, 2021, which violated her First,

 Fifth, and Fourteenth Amendment rights, as well as various Colorado laws. (Id., ¶ 51.)

 Plaintiff also alleges she was denied the ability to attend the March 24, 2021 BOE

 meeting in person. (Id., ¶¶ 55, 74.)




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       Count 2 is asserted pursuant to 42 U.S.C. § 1985. Plaintiff alleges the

 defendants conspired to deprive her of her First, Fifth, and Fourteenth Amendment

 rights, as well as various Colorado laws. (Id., ¶¶ 66-67.)

       In Count 3, Plaintiff appears to allege the defendants discriminated against her

 based on the denial of a public accommodation, pursuant to 42 U.S.C. § 2000a. (Id.

 at 32-37.)

       Count 4 is asserted pursuant to 42 U.S.C. § 1983. Plaintiff alleges the

 defendants violated her rights by issuing no trespass directives on May 7, 2018, and

 August 24, 2018. (Id., ¶ 111.)

       In Count Five, Plaintiff alleges Aurora’s Ordinance Section 94-71(a)(4) violates

 the U.S. Constitution. (Id. at 38-43.)

       In Count 6, Plaintiff alleges the defendants discriminated against her in violation

 of the Colorado Constitution and/or Colo. Rev. Stat. § 24-34-601. (Id. at 43-44.)

       In Counts 7, 8, 9, and 10 Plaintiff asserts common law tort claims of defamation,

 breach of fiduciary duty, breach of contract, and outrageous conduct. (Id. at 44-47.)

 II.   Legal Analysis

       A.     Rule 8 of the Federal Rules of Civil Procedure

       The Amended Verified Complaint does not comply with Rule 8 of the Federal

Rules of Civil Procedure. The twin purposes of a complaint are to give the opposing

parties fair notice of the basis for the claims against them so that they may respond and

to allow the Court to conclude that the allegations, if proven, show that the plaintiff is

entitled to relief. See Monument Builders of Greater Kansas City, Inc. v. American


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Cemetery Ass’n of Kansas, 891 F.2d 1473, 1480 (10th Cir. 1989). The requirements of

Fed. R. Civ. P. 8 are designed to meet these purposes. See TV Communications

Network, Inc. v. ESPN, Inc., 767 F. Supp. 1062, 1069 (D. Colo. 1991), aff’d, 964 F.2d

1022 (10th Cir. 1992). Rule 8(a) provides that a complaint “must contain (1) a short

and plain statement of the grounds for the court’s jurisdiction, . . . (2) a short and plain

statement of the claim showing that the pleader is entitled to relief; and (3) a demand for

the relief sought.” The philosophy of Rule 8(a) is reinforced by Rule 8(d)(1), which

provides that “[e]ach allegation must be simple, concise, and direct.” Taken together,

Rules 8(a) and (d)(1) underscore the emphasis placed on clarity and brevity by the

federal pleading rules. Prolix, vague, or unintelligible pleadings violate Rule 8.

       Claims must be presented clearly and concisely in a manageable format that

allows the Court and the defendants to know what claims are being asserted and to be

able to respond to those claims. New Home Appliance Ctr., Inc., v. Thompson, 250

F.2d 881, 883 (10th Cir. 1957). For the purposes of Rule 8(a), “[i]t is sufficient, and

indeed all that is permissible, if the complaint concisely states facts upon which relief

can be granted upon any legally sustainable basis.” Id. “[T]he court cannot take on

the responsibility of serving as the litigant’s attorney in constructing arguments and

searching the record.” Garrett v. Selby Connor Maddux & Janer, 425 F.3d 836, 840

(10th Cir. 2005).

       It is Plaintiff’s responsibility to present her claims in a manageable and readable

format that allows the Court and the defendants to know what claims are being asserted

and to be able to respond to those claims. The Court does not require a long,


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chronological recitation of facts. Nor should the Court or defendants be required to sift

through Plaintiff’s allegations to determine the heart of each claim. The Court also is

not required to comb through the nearly 200 pages of exhibits Plaintiff has submitted to

find matters that support her claims. A complaint should only present the alleged facts

in support of Plaintiff’s claims and need not include any documentary evidence, which

may be presented at a later point in the case. While it may be appropriate (or even

required) to attach some limited, relevant exhibits to the complaint, general evidentiary

material should not be attached, as such documents do not take the place of factual

allegations. A defendant and the Court should be able to understand Plaintiff’s claims

and the facts supporting those claims from reading the main body of the complaint, not

by reviewing and synthesizing the information contained in documents attached to the

complaint.

       Moreover, conclusory allegations do not entitle a pro se pleader to a day in court

regardless of how liberally the court construes such pleadings. See Ketchum v. Cruz,

775 F. Supp. 1399, 1403 (D. Colo. 1991), aff’d, 961 F.2d 916 (10th Cir. 1992). Thus,

“in analyzing the sufficiency of the plaintiff’s complaint, the court need accept as true

only the plaintiff’s well pleaded factual contentions, not [her] conclusory allegations.”

Hall, 935 F.2d at 1110.

       B.     Statutes of Limitations

       It appears some of Plaintiff’s claims are barred by the statutes of limitations.

The statute of limitations is an affirmative defense. See Fed. R. Civ. P. 8(c)(1).

However, the court may dismiss a claim sua sponte on the basis of an affirmative


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defense if the defense is “obvious from the face of the complaint,” and “[n]o further

factual record [is] required to be developed in order for the court to assess the

[plaintiff’s] chances of success.” Yellen v. Cooper, 828 F.2d 1471, 1476 (10th Cir.

1987); see also Fratus v. DeLand, 49 F.3d 673, 676 (10th Cir. 1995) (stating that

dismissal under § 1915 on the basis of an affirmative defense is permitted “when the

claim’s factual backdrop clearly beckons the defense”).

       The applicable statutes of limitations for 42 U.S.C. §§ 1981, 1983, and 1985

claims in Colorado is two years. See Blake v. Dickason, 997 F.2d 749, 750-51 (10th

Cir. 1993) (section 1983 claims); Reynolds, 69 F.3d at 1532 (section 1981 claims);

Lyons v. Kyner, 367 F. App’x 878, 881 (10th Cir. 2010) (section 1985 claims).

       The statute of limitations for defamation is one year. Sieverding v. Colorado Bar

Ass'n, No. 02–M0001950–OES, 2003 WL 22400218, at *24 (D.Colo. Oct. 14, 2003).

Under Colorado law, actions for breach of fiduciary duty and breach of contract are

subject to a three-year statute of limitations. Cypress Advisors, Inc. v. Davis, No. 16-

CV-01935-MSK-MEH, 2017 WL 3116289, at *10 (D. Colo. July 21, 2017) (breach of

fiduciary duty); Bank of Am., N.A. v. Dakota Homestead Title Ins. Co., 553 F. App'x 764,

766 (10th Cir. 2013) (breach of contract). And the limitations period applicable to

outrageous conduct claims is two years. Winkler v. Rocky Mountain Conf. of United

Methodist Church, 923 P.2d 152, 161 (Colo. App. 1995).

       “Although state law determines the applicable statute of limitations period, federal

law governs the particular point in time at which a claim accrues.” Kripp v. Luton, 466

F.3d 1171, 1175 (10th Cir. 2006). Under federal law, a § 1983 claim accrues “when


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the plaintiff knows or has reason to know of the injury which is the basis of his action.”

Id. (internal quotation marks omitted).

       Here, Plaintiff alleges several of the events that give rise to her claims occurred

in 2018 and 2019. This action was commenced on April 15, 2022. Therefore, it is

obvious from the face of the complaint that claims related to events before April 15,

2019 may be time-barred under any of the statutes of limitations.

       The next question is whether the statute of limitations may be tolled. The State

of Colorado recognizes the doctrine of equitable tolling to suspend a statute of

limitations period “when flexibility is required to accomplish the goals of justice.”

Morrison v. Goff, 91 P.3d 1050, 1053 (Colo. 2004) (internal quotation marks omitted).

For example, equitable tolling of a statute of limitations is appropriate “when plaintiffs

did not timely file their claims because of ‘extraordinary circumstances’ or because

defendants’ wrongful conduct prevented them from doing so.” Id. However, “statutes

of limitation compel litigants to pursue their claims in a timely manner.” Dean Witter

Reynolds, Inc. v. Hartman, 911 P.2d 1094, 1099 (Colo. 1996). Therefore, even if

Plaintiff can demonstrate extraordinary circumstances or wrongful conduct that

prevented her from filing a claim, she also must allege facts that demonstrate she

diligently pursued her claims when possible. See id. at 1097. “[W]hen the dates given

in the complaint make clear that the right sued upon has been extinguished, the plaintiff

has the burden of establishing a factual basis for tolling the statute.” Aldrich v.

McCulloch Properties, Inc., 627 F.2d 1036, 1041 n.4 (10th Cir. 1980).




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       C.     Conspiracy Claim

       Plaintiff asserts a claim under 42 U.S.C. § 1985(3), which relates to conspiracies

to deprive a person of rights and privileges. “The essential elements of a § 1985(3)

claim are: (1) a conspiracy; (2) to deprive plaintiff of equal protection or equal privileges

and immunities; (3) an act in furtherance of the conspiracy; and (4) an injury or

deprivation resulting therefrom.” Tilton v. Richardson, 6 F.3d 683, 686 (10th Cir. 1993).

Furthermore, § 1985(3) applies only to conspiracies motivated by “some racial, or

perhaps otherwise class-based, invidiously discriminatory animus.” Griffin v.

Breckenridge, 403 U.S. 88, 102 (1971). Conclusory allegations regarding a conspiracy

are not sufficient to state an arguable claim under § 1985(3). See Benavidez v.

Gunnell, 722 F.2d 615, 618 (10th Cir. 1983) (noting that conclusory allegations of a

conspiracy are not sufficient). Plaintiff must plead facts to state a cognizable § 1985

claim in the second amended complaint.

       D.     Discrimination Claim

       “[42 U.S.C. §] 1981 prohibits racial discrimination in ‘the making, performance,

modification, and termination of contracts, and the enjoyment of all benefits, privileges,

terms, and conditions of the contractual relationship.’” Reynolds v. School Dist. No. 1,

Denver, Colo., 69 F.3d 1523, 1532 (10th Cir. 1995) (quoting 42 U.S.C. § 1981).

Plaintiff does not allege that Defendants discriminated against her on the basis of her

race in relation to a contract or contractual relationship with the defendants.




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       E.     Section 1983 Claims

       Plaintiff asserts a vague claim under § 1983 “for the violation of the plaintiff’s civil

rights to Due Process and Equal Protection Under the Law.” (ECF No. 6-2 at 2, ¶ 1.)

Her § 1983 claim appears to be related to events that occurred in 2018. (See id. at 37,

¶ 111.) To the extent Plaintiff’s § 1983 claim is not barred by the statute of limitations,

“[l]iability under § 1983 requires personal participation in the unlawful acts.” Beedle v.

Wilson, 422 F.3d 1059, 1072 (10th Cir. 2005). To establish personal participation,

Plaintiff must show that each individual defendant caused the deprivation of a federal

right. See Kentucky v. Graham, 473 U.S. 159, 166 (1985). “The elements necessary

to establish a § 1983 . . . violation will vary with the constitutional provision at issue.”

Pahls v. Thomas, 718 F.3d 1210, 1225 (10th Cir. 2013) (internal quotation marks

omitted). Thus,

       [b]ecause § 1983 [is a] vehicle[] for imposing personal liability on
       government officials, we have stressed the need for careful attention
       to particulars, especially in lawsuits involving multiple defendants. It
       is particularly important that plaintiffs make clear exactly who
       is alleged to have done what to whom, . . . as distinguished from
       collective allegations. When various officials have taken different
       actions with respect to a plaintiff, the plaintiff’ s facile, passive-voice
       showing that his rights ‘ were violated’ will not suffice. Likewise
       insufficient is a plaintiff’ s more active-voice yet undifferentiated
       contention that ‘ defendants’ infringed his rights.

Id. at 1225-26 (internal citations and quotation marks omitted).

       There must be an affirmative link between the alleged constitutional violation and

each individual defendant’s participation, control, direction, or failure to supervise. See

Butler v. City of Norman, 992 F.2d 1053, 1055 (10th Cir. 1993). Supervisory officials

may not be held liable for the unconstitutional conduct of subordinates on a theory of

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 respondeat superior. See Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009). To succeed in

 a § 1983 suit against a government official for conduct that arises out of his or her

 supervisory responsibilities, a plaintiff must allege and demonstrate that: “(1) the

 defendant promulgated, created, implemented or possessed responsibility for the

 continued operation of a policy that (2) caused the complained of constitutional harm,

 and (3) acted with the state of mind required to establish the alleged constitutional

 deprivation.” Dodds v. Richardson, 614 F.3d 1185, 1199 (10th Cir. 2010).

        Plaintiff may use fictitious names, such as “John/Jane Doe,” if she does not know

 the real names of the individuals who allegedly violated his federal rights. However,

 she still must provide enough information about each Doe Defendant so the individual

 can be identified for service of process. See Roper v. Grayson, 81 F.3d 124, 126 (10th

 Cir. 1996). Sufficient information may include the date and time of the alleged

 violation, the job description of the defendant, the defendant’s gender, physical

 description, and exactly what actions the defendant took.

        Plaintiff must allege the personal participation of each named defendant in the

 second amended complaint to pursue claims against them.

        F.     Due Process Claim

        The due process clause of the Fourteenth Amendment provides that “ [n]o State

 shall . . . deprive any person of life, liberty, or property, without due process of law.

 U.S. Const. amend. XIV, § 1.      The due process clause has both a substantive and

 procedural component. Albright v. Oliver, 510 U.S. 266, 272 (1994). “Procedural due

 process ensures the state will not deprive a party of property without engaging fair


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 procedures to reach a decision, while substantive due process ensures the state will not

 deprive a party of property for an arbitrary reason regardless of the procedures used to

 reach that decision.” Hyde Park Company v. Santa Fe Council, 226 F.3d 1207, 1210

 (10th Cir. 2000). It is unclear whether Plaintiff is asserting a violation of her procedural

 or substantive due process rights, or both. For either claim, she must state facts to

 show that she was deprived of an interest in life, liberty or property. See Elliott v.

 Martinez, 675 F.3d 1241, 1244 (10th Cir. 2012). Where a liberty interest exists, the

 second inquiry is “whether the procedures followed by the government in depriving [the

 inmate] of that interest comported with due process of law.” Elliott, 675 F.3d at 1244

 (quotation omitted).

        G.     Equal Protection Claim

        “The equal protection clause provides that ‘[n]o state shall . . . deny to any

 person within its jurisdiction the equal protection of the laws.’” Grace United Methodist

 Church v. City of Cheyenne, 451 F.3d 643, 659 (10th Cir. 2006) (quoting U.S. Const.

 amend. XIV, § 1), “which is essentially a direction that all persons similarly situated

 should be treated alike,” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439

 (1985). To state an arguable equal protection claim, a plaintiff must first make a

 “threshold showing” that he or she was treated differently than others with whom the

 plaintiff was similarly situated. Brown v. Montoya, 662 F.3d 1152, 1172-73 (10th Cir.

 2011) (internal quotation marks omitted); see also Matelsky v. Gunn, No. 00-7097, 15 F.

 App’x 686, 689 (10th Cir. July 19, 2001) (unpublished) (“In the absence of any specific

 allegations of differential treatment, the Equal Protection claim is patently inadequate


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 under any of the three equal protection theories—fundamental rights, suspect

 classification, or “class of one”—and was properly dismissed as frivolous.”); accord

 Village of Willowbrook v. Olech, 528 U.S. 562, 564 (2000) (stating that even in “class of

 one” equal protection claim, the plaintiff must show that he “has been intentionally

 treated differently from others similarly situated.”).

        To state a race-based equal protection claim, a plaintiff must sufficiently allege

 that the defendant was motivated by racial animus. See Phelps v. Wichita Eagle-

 Beacon, 886 F.2d 1262, 1269 (10th Cir.1989) (citing Village of Arlington Heights v.

 Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977)). Conclusory allegations of

 discriminatory motive fall short of stating an arguable claim for relief. See Green v.

 Corrs. Corp. of Am., No. 10-3217, 401 F. App’x. 371, 376 (10th Cir. Nov. 8, 2010)

 (unpublished) (conclusory allegations of racial motivation are insufficient to state an

 equal protection claim). See also Hall, 935 F.2d at 1110 (stating that courts need not

 accept as true a pro se litigant’s conclusory allegations). Moreover, “[m]ere differences

 in race do not, by themselves, support an inference of racial animus.” Green, 401 F.

 App’x at 376 (internal citations omitted).

        H.     Claims Against City of Aurora

        To hold the City of Aurora liable under § 1983, Plaintiff must allege facts to show

 that a municipal policy or custom exists and that there is a direct causal link between

 the policy or custom and her alleged constitutional injury. City of Canton, Ohio v.

 Harris, 489 U.S. 378, 385 (1989); Myers v. Oklahoma County Bd. of County Comm'rs,

 151 F.3d 1313, 1316-20 (10th Cir. 1998). Local government entities are not liable


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 under § 1983 solely because their employees inflict injury on a plaintiff. Monell v. New

 York City Dep’t of Social Servs., 436 U.S. 658, 694 (1978); City of Canton, 489 U.S. at

 385; Myers, 151 F.3d at 1316-20. Plaintiff cannot state a claim for relief under § 1983

 merely by pointing to isolated incidents. See Monell, 436 U.S. at 694. Furthermore,

 absent an underlying constitutional violation by a municipal officer or employee, a local

 government cannot be held liable under § 1983. See Martinez v. Beggs, 563 F.3d

 1082, 1091 (10th Cir. 2009).

        I.     Denial of Public Accommodation Claim

        Plaintiff asserts a discrimination claim based on the denial of a public

 accommodation under 42 U.S.C. § 2000a, which states that “[a]ll persons shall be

 entitled to the full and equal enjoyment of the goods, services, facilities, privileges,

 advantages, and accommodations of any place of public accommodation, as defined in

 this section, without discrimination or segregation on the ground of race, color, religion,

 or national origin.” Plaintiff is advised that before filing suit under 42 U.S.C. § 2000a,

 she must give written notice of the alleged act of discrimination to the appropriate state

 or local agency. See 42 U.S.C. § 2000a–3(c) (requiring thirty days’ notice to

 appropriate agency when state law prohibits discriminatory practices in places of public

 accommodation); see also White v. Denny's Inc., 918 F. Supp. 1418, 1423 (D. Colo.

 1996). Plaintiff does not allege or provide documentation to show that she filed a

 notice with the Colorado Civil Rights Commission before instituting this action.

        Moreover, injunctive relief may be the exclusive remedy available to Plaintiff. 42

 U.S.C. § 2000a-6 (“The remedies provided in this subchapter shall be the exclusive


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 means of enforcing the rights based on this subchapter[.]”). See Gallegos v. Adams

 Cnty. Sch. Dist. 14, No. 17-CV-00306-CMA-NYW, 2017 WL 4236320, at *4 (D. Colo.

 Sept. 25, 2017) (holding injunctive relief was only remedy against school district

 employees because the district has the authority to implement a court order as to its

 employees).

        J.     Claim for Discrimination Under Colo. Rev. Stat. § 24-34-601

        Plaintiff also asserts a claim for race and/or sex discrimination under Colo. Rev.

 Stat. § 24-34-601. The Colorado Anti-Discrimination Act (“CADA”) prohibits places of

 public accommodation, including “educational institutions,” from directly or indirectly

 refusing, withholding, or denying “the full and equal enjoyment of [its] goods, services,

 facilities, privileges, advantages, or accommodations” based on an individual's race or

 sex. See Colo. Rev. Stat. §§ 24-34-601(1)-2(a). Within 60 days of the alleged

 discrimination, a plaintiff must file a charge of discrimination pursuant to § 24-34-3062

 with the division or else “it shall be barred.” Colo. Rev. Stat. § 24-34-604. Indeed,

 CADA commands that, “No person may file a civil action in a district court in this state

 based on an alleged discriminatory or unfair practice prohibited by parts 4 to 7 of this

 article without first exhausting the proceedings and remedies available to him” unless

 proving that exhaustion “would not provide timely and reasonable relief and would

 cause irreparable harm.” Id. § 306(14); see also Brooke v. Rest. Servs., Inc., 906 P.2d

 66, 72 (Colo. 1995) (holding that “section 24-34-306(14) was intended to require only

 that an individual claimant exhaust administrative remedies for claims brought pursuant

 to [CADA].”). Exhaustion is “a condition precedent to bringing an action in district court,


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 . . . and a right-to-sue letter will often serve as evidence that a party complied with this

 requirement.” City of Colorado Springs v. Conners, 993 P.3d 1167, 1169 n.3 (Colo.

 2000) (citing Colo. Rev. Stat. § 24-34-306(14)).

        In her second amended complaint, Plaintiff must address whether she has

 exhausted her administrative remedies prior to filing suit.

        K.     Heck Bar and Request for Relief

        Plaintiff states she was found guilty of trespassing in 2019 (ECF No. 6-2 at 14)

 and “prays this Court will Condemn Sec. 94-71(a)(4) Aurora, CO Code of Ordinances

 and restore Plaintiff’s reputation overturning [the] conviction of trespass on Plaintiff’s

 record and direct Defendant’s to request the removal from Plaintiff’s criminal history

 forthwith” (id. at 43, § 128). Under Heck v. Humphrey, 512 U.S. 477 (1994), if a civil

 judgment implies the invalidity of a criminal conviction or sentence, a cause of action

 under § 1983 does not arise until the conviction or sentence has been reversed on

 direct appeal, expunged by executive order, declared invalid by an authorized state

 tribunal, or called into question by the issuance of a federal habeas writ. See Heck,

 512 U.S. at 486-87. As explained in Heck, a § 1983 plaintiff may not recover “for other

 harm caused by actions whose unlawfulness would render a conviction or sentence

 invalid[.]” Id. In short, a civil rights action “is barred (absent prior invalidation) – no

 matter the relief sought (damages or equitable relief), no matter the target of the . . . suit

 (state conduct leading to conviction or internal prison proceedings) – if success in that

 action would necessarily demonstrate the invalidity of confinement or its duration.”

 Wilkinson v. Dotson, 544 U.S. 74, 81-82 (2005).


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        Moreover, to the extent Plaintiff asks this Court to vacate a state-court sentence,

 such relief may not ordinarily be granted in a § 1983 action. Rather, Plaintiff must seek

 release in a habeas corpus proceeding. “[T]he essence of habeas corpus is an attack

 by a person in custody upon the legality of that custody, and . . . the traditional function

 of the writ is to secure release from illegal custody.” Preiser v. Rodriguez, 411 U.S.

 475, 484 (1973). “Petitions under § 2241 are used to attack the execution of a

 sentence, . . . [while] § 2254 habeas and § 2255 proceedings, . . . are used to

 collaterally attack the validity of a conviction and sentence.” McIntosh v. United States

 Parole Comm’n, 115 F.3d 809, 811 (10th Cir. 1997); see also Palma-Salazar v. Davis,

 677 F.3d 1031, 1035 (10th Cir. 2012) (discussing distinction between habeas corpus

 claims pursuant to § 2241 and conditions of confinement claims raised in civil rights

 actions).

        L.     One Operative Pleading

        Plaintiff must submit a single, completed second amended complaint on the

 court-approved Complaint form as one document that contains all claims and

 allegations. Plaintiff is advised that the Court is not required to sort through multiple

 pleadings or attachments to ascertain the claims or compile the required information

 from multiple documents. See Fed. R. Civ. P. 7(a) (allowing for one operative pleading

 filed in the pending action); see also D.C.COLO.LCivR 15.1(b) (“Unless otherwise

 ordered, the proposed amended or supplemental pleading shall not incorporate by

 reference any part of the preceding pleading, including exhibits.”). Extra pages may be

 attached to the court-approved form Complaint if additional space beyond that provided


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 in the form is needed to describe any claim or to provide support for a claim. See also

 Instructions in Section D of Complaint Form (“If additional space is needed to describe

 any claim or to assert additional claims, use extra paper to continue that claim or to

 assert the additional claim(s). Please indicate that additional paper is attached and label

 the additional pages regarding the statement of claims as “D. STATEMENT OF

 CLAIMS.”).

 III.   Conclusion

        The Court directs Plaintiff to file a second amended complaint on the current

 Court-approved form that complies with Rule 8 of the Federal Rules of Civil Procedure

 and this Order.

        Accordingly, it is

        ORDERED that Plaintiff shall file, within thirty (30) days from the date of this

 Order, a second amended complaint that complies with this Order. It is

        FURTHER ORDERED that Plaintiff shall obtain and use the court-approved

 Complaint Form (General Complaint), along with the applicable instructions, at

 www.cod.uscourts.gov. It is

        FURTHER ORDERED that, if Plaintiff fails to file a second amended complaint

 that complies with this Order within the time allowed, the action will be dismissed

 without further notice for the reasons discussed above.

        DATED July 7, 2022.

                                           BY THE COURT:

                                           s/ Gordon P. Gallagher
                                           United States Magistrate Judge

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